Case 19-10782   Doc 160   Filed 02/24/20 Entered 02/24/20 15:04:23   Desc Main
                           Document     Page 1 of 6
Case 19-10782   Doc 160   Filed 02/24/20 Entered 02/24/20 15:04:23   Desc Main
                           Document     Page 2 of 6
Case 19-10782   Doc 160   Filed 02/24/20 Entered 02/24/20 15:04:23   Desc Main
                           Document     Page 3 of 6
Case 19-10782   Doc 160   Filed 02/24/20 Entered 02/24/20 15:04:23   Desc Main
                           Document     Page 4 of 6
Case 19-10782   Doc 160   Filed 02/24/20 Entered 02/24/20 15:04:23   Desc Main
                           Document     Page 5 of 6
Case 19-10782   Doc 160   Filed 02/24/20 Entered 02/24/20 15:04:23   Desc Main
                           Document     Page 6 of 6
